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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                             Case No. 3:22-cr-00023-BJD-MCR

 AARON ZAHN and
 RYAN WANNEMACHER

              Defendants.
                                           /

      DEFENDANT AARON ZAHN’S UNOPPOSED MOTION FOR LEAVE
           TO FILE A 30-PAGE SENTENCING MEMORANDUM

       Defendant Aaron Zahn seeks to file a 30-page sentencing memorandum, and in

 advance of filing, moves the Court for leave to exceed any applicable page limit under

 Local Rule 3.01(a).

       Local Rule 3.01(a) does not clearly set out a page limit for a sentencing

 memorandum.       In any event, Mr. Zahn requests leave to file a sentencing

 memorandum of 30 pages. Mr. Zahn requires 30 pages to address the complex factors

 that this Court should consider at sentencing. See United States v. Gupta, 904 F. Supp.

 2d 349, 350 (S.D.N.Y. 2012) (“Imposing a sentence on a fellow human being is a

 formidable responsibility. It requires a court to consider, with great care and

 sensitivity, a large complex of facts and factors.”). In particular, Mr. Zahn will first

 describe his background, including his personal history, early life and education,

 adolescence and formative years, higher education, professional development and
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 career path, impact on the community, extensive community engagement, and family

 life and parental responsibilities. This information is important for the Court to

 consider. See United States v. Adelson, 441 F. Supp. 2d 506, 513-514 (S.D.N.Y. 2006)

 (“[S]urely, if ever a man is to receive credit for the good he has done, and his

 immediate misconduct assessed in the context of his overall life hitherto, it should be

 at the moment of his sentencing, when his very future hangs in the balance.”); Gupta,

 904 F. Supp. 2d at 354 (“[F]or on this day of judgment, must not one judge the man

 as a whole?”). Following this, Mr. Zahn will argue why the Presentence Investigation

 Report’s Guidelines recommendation is erroneous, addressing Mr. Zahn’s objections

 made to the probation office. Mr. Zahn will then proceed to discuss why the 18 U.S.C.

 3553(a) factors support substantial leniency. As part of the analysis, Mr. Zahn will

 describe, among other considerations, why adequate deterrence has already been

 achieved and why unwarranted sentencing disparities can only be avoided by

 sentencing Mr. Zahn below the Guidelines.

       To capture the essence of the circumstances that the Court should consider

 while deciding Mr. Zahn’s sentence, Mr. Zahn requires 30 pages to concisely state his

 arguments. Accordingly, Mr. Zahn respectfully requests leave to file the 30-page

 sentencing memorandum.

                         CERTIFICATE OF CONFERRAL

       The undersigned counsel conferred with Assistant U.S. Attorney A. Tysen

 Duva, counsel for the United States, and Mr. Duva does not oppose the relief sought

 in this motion.

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 Respectfully submitted,

    /s/ Raquel R. Jefferson
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                            CERTIFICATE OF SERVICE

        We hereby certify that on July 23, 2024, we electronically filed the foregoing
 using the Court’s CM/ECF system, thereby serving all registered users in this case.

                                                 /s/ Raquel R. Jefferson
                                                 Raquel R. Jefferson




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